Case 09-61855-bem        Doc 191     Filed 11/09/20 Entered 11/09/20 16:07:22              Desc Main
                                    Document     Page 1 of 20



                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

 IN RE:                                                 :      CASE NO. 09-61855-BEM
                                                        :
 TODD ANTHONY SHAW,                                     :      CHAPTER 7
                                                        :
            Debtor.                                     :

         SECOND INTERIM APPLICATION FOR ALLOWANCE OF
  COMPENSATION AND REIMBURSEMENT OF EXPENSES OF HAYS FINANCIAL
    CONSULTING, LLC, AS ACCOUNTANTS TO THE CHAPTER 7 TRUSTEE

          COMES NOW Hays Financial Consulting, LLC (“HFC” or “Applicant”), accountants to

 S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the above-styled case, and, pursuant to 11

 U.S.C. § 330 and Bankruptcy Rule 2016, and files this second interim application (“Application”)

 seeking allowance of compensation in the amount of $12,240.00 and reimbursement of expenses

 in the amount of $111.00 for the period from October 1, 2019 through and including September

 30, 2020 (the “Application Period”). In support hereof, Applicant shows as follows:

                                                   1.

          On January 26, 2009 (the “Petition Date”), Todd Anthony Shaw (“Debtor”) filed a

 voluntarily petition under Chapter 7 of Title 11 of the United States Code (11 U.S.C. § 101, et seq.,

 as amended, is hereinafter referred to as the “Bankruptcy Code”), initiating Case No. 09-61855-

 BEM (the “Case”). Shortly thereafter, Trustee was appointed, and he remains, the duly acting

 Chapter 7 trustee in this Case.

                                                   2.

          On November 20, 2009, the Trustee filed an Application to Employ Hays Financial

 Consulting, LLC as Accountants for the Trustee [Doc. No. 60]. On November 23, 2009, an Order

 approving the employment of HFC as Accountants to the Trustee was entered [Doc. No. 61].
Case 09-61855-bem        Doc 191    Filed 11/09/20 Entered 11/09/20 16:07:22             Desc Main
                                   Document     Page 2 of 20



                                                  3.

        Pursuant to this Application, Applicant seeks interim approval, allowance, and payment

 pursuant to §§ 330 and 331 of the Bankruptcy Code of compensation for services rendered as

 accountants for the Trustee incurred in connection therewith during the Application Period.

                                                  4.

        The Applicant’s first interim fee application [Docket No. 168] was filed on November 13,

 2019 seeking allowance of compensation in the amount of $52,639.00 for fees incurred and

 $5,829.66 for reimbursement of expenses as accountants to the Trustee for the period November

 16, 2009 through and including September 30, 2019. These fees and expenses incurred were

 deemed reasonable and necessary by the court and were ordered paid by the Trustee on December

 19, 2019 [Doc. No. 176].

                                                  5.

        For the period covered by this application, HFC devoted a total of not less than 41.2 hours

 in rendering services as accountants to the Trustee. Applicant has not previously been allowed or

 paid any compensation for the period covered by this application. Summaries of hours spent by

 subject area and by professional are attached as Exhibit “A”.

                                                  6.

        On November 13, 2019, the Trustee filed his Motion for Authority to Make Interim

 Distribution [Doc. No. 171] which was approved on December 19, 2019 [Doc. No. 176]. The

 Trustee paid a 100% distribution to allowed secured claimants, a 100% distribution to allowed

 priority claimants and a 3% distribution to timely filed, allowed, general unsecured claimants.
Case 09-61855-bem        Doc 191    Filed 11/09/20 Entered 11/09/20 16:07:22              Desc Main
                                   Document     Page 3 of 20



                                                  7.

         The Trustee is currently holding $543,964.25 in the bankruptcy estate’s bank account. The

 funds resulted from a November 24, 2009 stipulation between the Trustee and Zomba Recordings

 LLC (“Zomba”) [Doc. No. 62] to split the continuing music royalties owed to the Debtor with

 20% being paid to the bankruptcy estate and 80% being paid to Zomba until Zomba's secured

 claim is satisfied. Due to the 2016 sampling of an estate composition (“Recently Sampled

 Composition”) and a considerable increase in royalties, the Zomba loan was satisfied in early 2019.

 The Trustee anticipates a gradual reduction in future royalty payments as the Recently Sampled

 Composition and past compositions age. The Trustee intends to locate a purchaser for the

 bankruptcy estate’s rights in the pre-petition compositions and future royalty payments.

                                                  8.

         Because of the additional time required to close the bankruptcy case, contemporaneously

 with the filing of this Application, Trustee has filed a second Motion for Authority to Make Interim

 Distribution, which proposes a 31% distribution to timely filed, allowed, general unsecured

 claimants. All claim issues have been resolved and appropriate reserves have been made for fees

 and expenses associated with the final administration of the bankruptcy case.

                                                  9.

         In addition, the recent increase in royalties has created additional taxable income to the

 Bankruptcy Estate. The Trustee and other professionals are filing interim fee applications to offset

 some of the additional royalty income in year 2020, which will reduce the Bankruptcy Estate’s tax

 liability.
Case 09-61855-bem          Doc 191     Filed 11/09/20 Entered 11/09/20 16:07:22               Desc Main
                                      Document     Page 4 of 20



                                                     10.

          The services of the Applicant during the Application Period are summarized by category

 below.

                 (a)     Accounting. This category includes time spent reviewing and analyzing

          royalty payments and monitoring of same along with the review and preparation of an

          analysis for the interim distribution to creditors.

                 (b)     Business Analysis. This category includes time spent gathering historical

          data relating to royalty payments and mechanical sales of materials for a due diligence

          package to sell the bankruptcy estate’s interests.

                 (c)     Fee / Employment Applications & Objection. This category involves

          finalizing Applicant’s first interim fee application and the exhibits attached to it.

                 (d)     Tax Issues. This category includes activity by the Applicant including (1)

          analysis of the estate income from music royalties for year 2019 and the preparation of

          federal and state tax returns of the bankruptcy estate, (2) preparation of letters pursuant to

          code section 505(b), (3) preparation of Forms 1099, (4) review of receipts and calculation

          of estimated quarterly tax payments, and (5) responding and addressing issues raised by

          the IRS relating to the 2017 tax return.

                                                     11.

          Applicant shows that all services were necessary to assist the Trustee in the proper and

 effective administration of the Debtor’s estate and the exercise of the powers of the Trustee.

 Applicant shows that the fair and reasonable value of such services, and the costs of comparable

 services in a case not proceeding under the Bankruptcy Code, is not less than $12,240.00, based

 primarily on the normal hourly rates of providing such services and calculated using the “lodestar”
Case 09-61855-bem         Doc 191    Filed 11/09/20 Entered 11/09/20 16:07:22             Desc Main
                                    Document     Page 5 of 20



 calculation of reasonable hourly rates multiplied by the number of hours actually expended, as

 summarized on Exhibit “A”. The time expended and services performed by HFC are duly itemized

 and set forth in Exhibit "B" attached hereto and by reference incorporated herein and made part of

 this Application.

                                                   12.

        Applicant shows that all services for which compensation during this Application Period

 is requested have been actually provided to the Debtor and/or the Trustee, and to no other parties,

 and have been necessary for the proper and effective administration of this case and for the benefit

 of the Debtor’s estate and its creditors.

                                                   13.

        Applicant’s employees have substantial experience and expertise in providing financial and

 accounting services in bankruptcy cases and to fiduciaries in such cases. Applicant’s employee

 hourly rates are fair and reasonable and the same as the cost for such services other than in a

 bankruptcy case.

                                                   14.

        The compensation requested is allowable pursuant to the twelve factor test (the “Johnson

 Factors”) set forth in Johnson v. Georgia Highway Express, Inc., 488 F.2d 714, 717-19 (5th Cir.

 1974), as modified and made applicable to bankruptcy cases by the Eleventh Circuit Court of

 Appeals in Grant v. George Schumann Tire & Battery Co., 908 F.2d 874 (11th Cir. 1990). The

 Johnson Factors and their applicability in these cases are as follows:

                (a)     Time and Labor Required:         HFC expended 41.2 hours in performing

        services as accountants to the Trustee during the Application Period. The billing rates of

        the various professionals and other personnel who have performed services for the
Case 09-61855-bem      Doc 191    Filed 11/09/20 Entered 11/09/20 16:07:22               Desc Main
                                 Document     Page 6 of 20



      Committee are detailed in HFC’s billing statements, which are attached hereto as Exhibit

      “A”.

             (b)     Novelty and Difficulty of Questions Presented: The work performed by

      HFC has involved issues of varying complexity, as set forth in substantial detail in the

      billing statements attached to this Application.

             (c)     Skill Requisite to Perform Professional Services: The Trustee selected HFC

      as its accountants because HFC’s professionals possess substantial expertise and

      experience in bankruptcy and related fields and are well-qualified to perform professional

      services.

              (d)    Preclusion of Other Employment Due to Acceptance of the Cases:

      Professionals of HFC have devoted time and resources to these cases, to the possible

      preclusion of involvement in other matters.

             (e)     Customary Fees for the Type of Services Rendered: HFC believes that the

      fees requested and the hourly rates set forth herein are consistent fees typically charged for

      the type of services rendered in cases of this magnitude and complexity. The hourly rates

      charged by HFC in this Application are comparable to the rates that HFC would charge to

      a non-bankruptcy client for work of a similar nature and complexity.

             (f)     Whether the Fee is Fixed or Contingent: Pursuant to section 330(a) of the

      Bankruptcy Code, HFC’s fee is subject to Court approval, and is primarily based upon

      hourly rates and does not involve any fixed or flat fees. Compensation is “contingent” only

      in the sense that there are risks of non-allowance or non-payment.

             (g)    Time Limitations Imposed by the Client or Other Circumstances: Certain

      tax filing deadlines have been applicable herein.
Case 09-61855-bem          Doc 191    Filed 11/09/20 Entered 11/09/20 16:07:22           Desc Main
                                     Document     Page 7 of 20



                (h)    The Amount Involved and Results Obtained: HFC shows that the Trustee,

        with the assistance of all professionals involved, has achieved a successful result in this

        case.

                (i)    The Experience, Reputation, and Ability of the Professional: HFC has

        extensive experience in bankruptcy matters. Its reputation and ability are well known to

        the Court.

                (j)    Undesirability of the Case:      This factor is inapplicable to the present

        Chapter 7 cases.

                (k)        Nature and Length of Professional Relationship with the Client: HFC

        was employed by the Trustee as his accountants in this bankruptcy case. Thus, the

        professional relationship is an ongoing one.

                (l)    Awards in Similar Cases: HFC is regularly awarded compensation in

        Chapter 7 and Chapter 11 cases on the same basis as requested herein.

                                                  15.

        In connection with the provision of services as set forth herein above, Applicant has

 incurred expenses in the amount of $111.00. Expenses are summarized on Exhibit “A” and

 itemized on Exhibit “C” attached hereto and incorporated herein. Applicant seeks allowance of

 said expenses as reasonable and necessarily incurred.

                                                  16.

        No agreement or understanding exists between HFC and any other person for the sharing

 of compensation to be received for services rendered in connection with this case. All services for

 which compensation is requested were performed for the Trustee and the estate and not on behalf

 of any committee, creditor or any other person or persons.
Case 09-61855-bem        Doc 191    Filed 11/09/20 Entered 11/09/20 16:07:22              Desc Main
                                   Document     Page 8 of 20



                                                  17.

         Based on the foregoing, Applicant seeks interim allowance of $12,240.00 as compensation

 for the period covered by this Application. Applicant shows that compensation in such amount is

 reasonable compensation based on the nature, the extent, and the value of services rendered, the

 time spent to provide such services, and the cost of comparable services other than in a bankruptcy

 case.

                                                  18.

         Attached hereto as Exhibit “D” is a Declaration of S. Gregory Hays, Managing Principal

 of Applicant, confirming the facts set out in the Application and exhibits hereto.

         WHEREFORE, Applicant respectfully prays:

         a.     That Applicant be allowed interim compensation in the amount of $12,240.00 as

                and for the reasonable value of services rendered in connection with its retention as

                accountants for the Trustee for the Application Period;

         b.     That Applicant be allowed the sum of $111.00 for the reimbursement of out-of-

                pocket expenses incurred in this case during the Application Period;

         c.     that the Court authorize payment of amounts allowed as deemed appropriate and

                equitable by the Court from the fund available in the bankruptcy estate; and

         d.     that the Court grant such other and further relief as may be just and proper.

                Respectfully submitted, this 9th day of November, 2020.

                                               /s/ S. Gregory Hays
 2964 Peachtree Rd, NW Ste. 555                S. Gregory Hays
 Atlanta, Georgia 30305
 (404) 926-0060
Case 09-61855-bem   Doc 191    Filed 11/09/20 Entered 11/09/20 16:07:22   Desc Main
                              Document     Page 9 of 20




                                Exhibit A
Case 09-61855-bem       Doc 191 Filed 11/09/20 Entered 11/09/20 16:07:22            Desc Main
                             Hays Financial Consulting,
                               Document                 LLC
                                            Page 10 of 20
                                       2964 Peachtree Road
                                             Suite 555
                                      Atlanta, GA 30305-2153

 Todd Anthony Shaw
 Case # 09-61855-BEM



                            For the Period from    10/1/2019 to 9/30/2020

  October 5, 2020




            Professional Services

                                                                            Hours     Amount

            Accounting                                                       9.00     2,700.00
            Business Analysis                                                7.90     2,370.00
            Fee / Employment Applications & Objection                        1.60       480.00
            Tax Issues                                                      22.70     6,690.00
              For professional services rendered                            41.20 $12,240.00

            Additional Charges :

            Federal Express                                                             25.19
            Postage                                                                     11.90
            Tax Return Preparation                                                      73.91
              Total costs                                                             $111.00


              Total amount of this bill                                             $12,351.00
Case 09-61855-bem          Doc 191 Filed 11/09/20 Entered 11/09/20 16:07:22                             Desc Main
                                Hays Financial Consulting,
                                  Document                 LLC
                                               Page 11 of 20
                                              2964 Peachtree Road
                                                    Suite 555
                                             Atlanta, GA 30305-2153

 Todd Anthony Shaw
 Case # 09-61855-BEM



                                    For the Period from           10/1/2019 to 9/30/2020

  October 5, 2020




            Professional Services

                                                                                          Hrs/Rate         Amount

            James R. Jennings, CPA                                                          15.90          4,770.00
                                                                                         300.00/hr
            Scott S. Askue                                                                  24.50          7,350.00
                                                                                         300.00/hr
            Theresa Brummer                                                                   0.80           120.00
                                                                                         150.00/hr
               For professional services rendered                                             41.20     $12,240.00

            Additional Charges :

            Federal Express                                                                                   25.19
            Postage                                                                                           11.90
            Tax Return Preparation                                                                            73.91
               Total costs                                                                                  $111.04


               Total amount of this bill                                                                $12,351.00




          CFE - Certified Fraud Examiner                                   CPA - Certified Public Accountant
          CIRA - Certified Insolvency and Restructuring Advisor            PHR - Professional in Human Resources
          CTP - Certified Turnaround Professional
Case 09-61855-bem   Doc 191 Filed 11/09/20 Entered 11/09/20 16:07:22   Desc Main
                           Document    Page 12 of 20




                              Exhibit B
Case 09-61855-bem        Doc 191 Filed 11/09/20 Entered 11/09/20 16:07:22                       Desc Main
                              Hays Financial Consulting,
                                Document                 LLC
                                             Page 13 of 20
                                          2964 Peachtree Road
                                                Suite 555
                                         Atlanta, GA 30305-2153

 Todd Anthony Shaw
 Case # 09-61855-BEM



                               For the Period from    10/1/2019 to 9/30/2020
  October 5, 2020




            Professional Services

                                                                                  Hrs/Rate       Amount

              Accounting

   10/3/2019 SSA    Reviewed amended claim filed by creditor. Calculated              2.20         660.00
                    interest and verified interest calculation methodology.         300.00/hr
                    Prepared updated distribution analysis.
  11/12/2019 SSA    Set up online access to royalty data. Prepared updated            1.30         390.00
                    distribution analysis bases on funds held back that were        300.00/hr
                    received from Sony.
   3/30/2020 SSA    Reviewed and responded to email from Michael Bargar               0.80         240.00
                    regarding payment of royalties. Set up account and              300.00/hr
                    reviewed royalty statements from Universal Music.
    5/8/2020 SSA    Reviewed funds received to date. Prepared analysis of             2.20         660.00
                    same for estimated tax payments. Prepared distribution          300.00/hr
                    analysis for a second interim distribution.
   5/11/2020 SSA    Finalized analysis ad drafted email to Mike Bargar                0.60         180.00
                    regarding proposed interim distribution and issues with         300.00/hr
                    same.
   9/10/2020 SSA    Set up portal for access to historic royalty payment data.        1.00         300.00
                    Drafted email to Universal Music regarding same.                300.00/hr
   9/21/2020 SSA    Reviewed funds received to date and drafted email to              0.30          90.00
                    Mike Bargar regarding same.                                     300.00/hr
   9/29/2020 SSA    Prepared second interim distribution analysis based on            0.60         180.00
                    projected fees and tax reserves.                                300.00/hr

                    Subtotal                                                          9.00       2,700.00

              Business Analysis

  10/17/2019 SSA    Reviewed and researched issues regarding royalty                  0.40         120.00
                    payments.                                                       300.00/hr
  10/29/2019 SSA    Reviewed file and drafted email to Mike Bargar regarding          0.30          90.00
                    royalty and payment information from Sony.                      300.00/hr
   11/4/2019 SSA    Reviewed status of case and drafted email to Mike                 1.50         450.00
                    Bargar regarding recoveries from Sony. Researched               300.00/hr
                    music industry and flow of royalties.
    2/6/2020 SSA    Reviewed and responded to email regarding funds                   0.70         210.00
                    collected by Sony. Reviewed documents and file                  300.00/hr
                    regarding sources of income for preparation of due
                    diligence file.
   2/10/2020 SSA    Reviewed and responded to email regarding turnover of             0.50         150.00
                    funds by Sony. Emails regarding future funds and due            300.00/hr
                    diligence package.
   3/31/2020 SSA    Reviewed file for expected receipts in early April 2020 for       0.50         150.00
                    estimated tax payment and due diligence package.                300.00/hr
Case 09-61855-bem       Doc 191 Filed 11/09/20 Entered 11/09/20 16:07:22                      Desc Main
                               Document    Page 14 of 20


 Todd Anthony Shaw                                                                    Page         2

                                                                                Hrs/Rate       Amount

   4/16/2020 SSA   Researched for available information and drafted email           0.50         150.00
                   to and reviewed emails from Mike Bargar regarding              300.00/hr
                   royalty payments for due diligence package.
   9/15/2020 SSA   Access royalty payment data and began preparation of             2.30         690.00
                   due diligence package.                                         300.00/hr
   9/16/2020 SSA   Researched music generating royalties and future royalty         1.20         360.00
                   streams for due diligence package.                             300.00/hr

                   Subtotal                                                         7.90       2,370.00

              Fee / Employment Applications & Objection

   10/3/2019 SSA   Updated and finalized interim fee application and exhibits       1.60         480.00
                   to same.                                                       300.00/hr

                   Subtotal                                                         1.60         480.00

              Tax Issues

  10/29/2019 SSA   Researched industry standards and royalty payments.              2.60         780.00
                   Reviewed 1099s from the IRS and prepared analysis of           300.00/hr
                   same. Drafted findings to help clear up issues prior to
                   interim distribution.
  10/30/2019 JRJ   Reviewed year to date activity in order to assess 2019           0.40         120.00
                   tax filing requirements.                                       300.00/hr
   11/1/2019 SSA   Reviewed file and drafted email to Jim Jennings                  0.30          90.00
                   regarding open matters and issues to be addressed on           300.00/hr
                   tax returns.
   11/4/2019 SSA   Prepared updated reports of 2019 activity and estimated          0.80         240.00
                   transactions for estimation of 2019 taxes                      300.00/hr
  12/27/2019 JRJ   Reviewed q3 projection prepared for Bankruptcy Estate            0.60         180.00
                   of Todd Shaw in order to confirm sufficiency of Federal        300.00/hr
                   and Georgia estimated tax payments.
   1/24/2020 SSA   Reconciled 1099s received for royalties received.                0.30          90.00
                                                                                  300.00/hr
   1/27/2020 JRJ   Reviewed 2019 Trustee Form 2 activity. Prepared                  1.10         330.00
                   Federal and Georgia taxable income analysis.                   300.00/hr
            JRJ    Prepared 2019 pro forma form 1040 for Bankruptcy                 1.50         450.00
                   Estate of Todd A. Shaw.                                        300.00/hr
            JRJ    Prepared 2019 pro forma Georgia Form 500 for                     0.90         270.00
                   Bankruptcy Estate of Todd A. Shaw.                             300.00/hr
            JRJ    Prepared sensitivity analysis of Federal itemized vs             1.40         420.00
                   standard deduction in order to maximize deductions and         300.00/hr
                   tax liability on Georgia income tax return.
   1/28/2020 JRJ   Prepared draft of Federal 1041 and attachments for year          1.40         420.00
                   ended 12/31/19.                                                300.00/hr
            JRJ    Prepared draft of Georgia Form 501 and attachments for           0.90         270.00
                   year ended 12/31/19.                                           300.00/hr
   1/31/2020 TB    Prepared 1099 forms for year 2019.                               0.80         120.00
                                                                                  150.00/hr
    2/3/2020 JRJ   Revised income reporting on Form 1041 for year ended             0.80         240.00
                   12/31/19 after receipt and review of Form 1099 for             300.00/hr
                   Universal Music Publishing Inc.
    2/4/2020 JRJ   Performed final 1099 reconciliation and finalized and            0.80         240.00
                   processed 2019 Federal Form 1041/1040 and Georgia              300.00/hr
                   Forms 501/500. Submitted to Trustee for signature.
            JRJ    Prepared USC 505(b) request For Prompt Determination             1.30         390.00
                   for 2019 Federal Form 1041/1040 and Georgia Forms              300.00/hr
                   501/500. Submitted to Trustee for signature.
Case 09-61855-bem      Doc 191 Filed 11/09/20 Entered 11/09/20 16:07:22                     Desc Main
                              Document    Page 15 of 20


 Todd Anthony Shaw                                                                  Page         3

                                                                              Hrs/Rate        Amount

   2/6/2020 SSA   Reviewed and verified content of 2019 tax return and            0.30          90.00
                  taxes due.                                                    300.00/hr
   3/5/2020 JRJ   Finalized and mailed 2019 Georgia return of Estate of           0.60         180.00
                  Todd Shaw, as well as 505b Request for Prompt                 300.00/hr
                  Determination after obtaining court approval for payment
                  of Georgia income tax.
   5/8/2020 JRJ   Analyzed and prepared 2nd quarter Federal and Georgia           1.30         390.00
                  estimated taxes pursuant to filing a motion to pay.           300.00/hr
   6/9/2020 SSA   Reviewed prior motions to pay income tax estimates.             0.50         150.00
                  Prepared motion edits and drafted email to Mike Bargar        300.00/hr
                  regarding 2020 payment estimates.
   7/8/2020 JRJ   Processed 2nd quarter 2020 Federal and Georgia                  0.90         270.00
                  estimated tax payments after expiration of Notice period.     300.00/hr
   9/1/2020 JRJ   Reviewed Form 2 through 9/1/2020 for royalty payments           0.60         180.00
                  and confirmed extent of remaining distributions through       300.00/hr
                  December 31, 2020 for tax payment projection.
   9/8/2020 SSA   Reviewed issues and emails regarding payment of 2017            0.60         180.00
                  income taxes in response to letter from the IRS.              300.00/hr
  9/10/2020 JRJ   Reviewed Notice received from IRS regarding 12/31/17            1.10         330.00
                  tax assessment and overpayment. Reviewed 2017                 300.00/hr
                  Federal return and responded to IRS via telephone (Mrs.
                  Martinez). Scanned and sent return to Mrs. Martinez.
  9/29/2020 JRJ   Discussed 4th quarter estimated payments with Scott             0.30          90.00
                  Askue and status of case.                                     300.00/hr
           SSA    Prepared and reviewed report of 2020 transactions for           0.60         180.00
                  preparation of estimated taxes owed.                          300.00/hr

                  Subtotal                                                       22.70        6,690.00

             For professional services rendered                                  41.20      $12,240.00
Case 09-61855-bem   Doc 191 Filed 11/09/20 Entered 11/09/20 16:07:22   Desc Main
                           Document    Page 16 of 20




                              Exhibit C
Case 09-61855-bem        Doc 191 Filed 11/09/20 Entered 11/09/20 16:07:22   Desc Main
                                Document     Page 17 of 20
                              Hays Financial Consulting, LLC
                                        2964 Peachtree Road
                                              Suite 555
                                       Atlanta, GA 30305-2153



 Todd Anthony Shaw
 Case # 09-61855-BEM




 October 5, 2020




                                                                             Amount

               Expenses

  10/22/2019 Tax software fee 1041                                              35.00
             Tax software fee 1040                                              35.00
  12/31/2019 Postage                                                             1.50
   1/31/2020 Forms, printing and postage for 1099s                               3.91
             Postage                                                             2.00
   2/29/2020 Postage                                                             3.40
             FedEx for 1099's                                                    3.61
   3/31/2020 Postage                                                             5.00
    7/7/2020 FedEx                                                              21.58

                    Subtotal                                                   111.00
Case 09-61855-bem   Doc 191 Filed 11/09/20 Entered 11/09/20 16:07:22   Desc Main
                           Document    Page 18 of 20



                         Exhibit “D” Follows
Case 09-61855-bem         Doc 191 Filed 11/09/20 Entered 11/09/20 16:07:22              Desc Main
                                 Document    Page 19 of 20



                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

 IN RE:                                                  :      CASE NO. 09-61855-BEM
                                                         :
 TODD ANTHONY SHAW,                                      :       CHAPTER 7
                                                         :
          Debtor.                                        :

                                          DECLARATION

 I, S. Gregory Hays, declare under penalty of perjury that:

    1. I am the Managing Principal at Hays Financial Consulting, LLC (“HFC”) and have

          knowledge of the facts set forth herein.

    2. The facts set out in the foregoing Second Interim Application for Allowance of

          Compensation and Reimbursement of Expenses of Hays Financial Consulting, LLC as

          Accountants to the Chapter 7 Trustee and in the exhibits attached thereto are true and

          correct to the best of my knowledge, information and belief. Those facts are known to me

          personally and by business records of HFC, maintained in the ordinary course of business,

          including time and reimbursement records made by personnel at HFC.


                                                      /s/ S. Gregory Hays
                                                     S. Gregory Hays
Case 09-61855-bem       Doc 191 Filed 11/09/20 Entered 11/09/20 16:07:22                 Desc Main
                               Document    Page 20 of 20



                                 CERTIFICATE OF SERVICE

        This is to certify that I caused to be served the foregoing Second Interim Application for
 Allowance of Compensation and Reimbursement of Expenses of Hays Financial Consulting LLC
 as Accounts to the Chapter 7 Trustee causing a copy of same to be deposited in the United States
 Mail in a properly addressed envelope with adequate postage affixed thereon to assure
 delivery to:


        Office of the U.S. Trustee
        362 Richard B. Russell Federal Building
        75 Ted Turner Drive SW
        Atlanta, GA 30303

        Todd Anthony Shaw
        1010 Forest Overlook Drive
        Atlanta, GA 30331

        Montie Day
        Day Law Offices
        P.O. Box 1525
        Williams, CA 95987



        This 9th day of November, 2020.

                                                  /s/ S. Gregory Hays
                                                 S. Gregory Hays
